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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF SOUTH CAROLINA
                              GREENWOOD DIVISION

 LaKrystal Coats, as Personal              )           C/A #: 1:17-cv-02930-TLW-SVH
 Representative of the Estate of Demetric  )
 Cowan,                                    )
                                           )
       Plaintiff,                          )
                                           )
 v.                                        )              STIPULATION FOR
                                           )          SUBSTITUTION OF COUNSEL
 Ray Pope, in his individual capacity;     )
 FNU Nichols, in his individual capacity; )
 FNU Cardarelli, in his individual         )
 capacity; FNU White, in his individual    )
 capacity; Gerald Brooks, in his           )
 individual capacity as Chief of Police of )
 the City of Greenwood; Sidney             )
 Montgomery, in his individual capacity; )
 Roy Murray, in his individual capacity;   )
 Pamela Osborne, in her individual         )
 capacity; Tony Davis, in his individual   )
 capacity as Sheriff of Greenwood          )
 County,                                   )
                                           )
       Defendants.                         )
 _________________________________ )

       It is stipulated and agreed that David L. Morrison be substituted in the place of Russell L.

Harter, Jr. as counsel of record for the Defendant, Pamela Osborne. It is further stipulated and

agreed that Russell W. Harter, Jr. is relieved of all further responsibility in this matter as to

Defendant Pamela Osborne.


June 13, 2018                                 s/ Russell W. Harter, Jr.______________
                                             Russell W. Harter, Jr., Esquire (Fed #1753)


June 13, 2018                                 s/ David L. Morrison________________
                                             David L. Morrison, Esquire (Fed. #3581)
